         Case
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 5   jmw@gregoryandwaldo.com
     Attorney for Defendant
 6   MELANIE LOWE
 7                               UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,           )
10
                                         )                Case No.: 2:16-cr-00305-KJD-VCF
11              Plaintiff,               )
         v.                              )
12                                       )                MELANIE LOWE’S
                                         )                MOTION TO CONDUCT A
13
     MELANIE LOWE                        )                PRE-PLEA PRESENTENCE
14                                       )                INVESTIGATION REPORT AND
                Defendants.              )                PROPOSED ORDER
15                                       )
16   ____________________________________)

17
            COMES NOW, Defendant MELANIE LOWE, by and through her counsel, JENNIFER
18
19   M. WALDO, Esq., of GREGORY & WALDO, LLC., and hereby moves this Honorable Court

20   for an Order to conduct a pre-plea presentence investigation report in the instant matter.
21          The calculation of Ms. Lowe’s criminal history may drastically impact her sentencing
22
     exposure, which will impact any plea negotiations and/or how Ms. Lowe intends to proceed in
23
     this matter. A pre-plea presentence report will promote judicial economy because it will
24
25   ultimately aid in the manner in which this case is resolved.

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              Accordingly, Ms. Lowe respectfully requests an Order requiring Parole and Probation to prepare a pre-plea
 1
 2   presentence investigation report. It is counsel’s understanding that the Government is not opposing this request.

 3            DATED this 26th day of June, 2017.
 4
                                                                              Submitted by:
 5
                                                                              /s/ Jennifer M. Waldo
 6                                                                            __________________________
 7                                                                            Nevada Bar No.: 11900
                                                                              324 S. 3rd Street, Suite 1
 8                                                                            Las Vegas, Nevada 89101
                                                                              Attorney for Melanie Lowe
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     Attorney for Defendant
 6   MELANIE LOWE
 7                               UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,           )
10
                                         )               Case No.: 2:16-cr-00305-KJD-VCF
11              Plaintiff,               )
         v.                              )
12                                       )               ORDER
                                         )
13
     MELANIE LOWE                        )
14                                       )
                Defendants.              )
15                                       )
16   ____________________________________)

17          IT IS HEREBY ORDERED that Defendant Melanie Lowe’s Motion for a Pre-Plea
18   Presentence Investigation Report is GRANTED.
19
            IT IS FURTHER ORDERED that the United States Office of Parole and Probation shall
20
     prepare and submit to the Court a Pre-Plea Presentence Investigation Report containing the
21
22   requested guideline calculation of Ms. Lowe’s criminal history only.

23          DATED this ______
                        12th day of July, 2017.
24
25
                                                                _____________________________
26                                                              United States District Court Judge
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         Case
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                                     CERTIFICATE OF SERVICE
 1
 2          The undersigned certifies that on the 26th day of June, 2017, the undersigned served the

 3   foregoing Melanie Lowe’s Unopposed Motion for a Pre-Plea Presentence Investigation Report
 4
     on all counsel herein by causing a true copy thereof to be filed with the Clerk of Court using
 5
     CM/ECF system which was electronically served upon all attorneys of record in this matter.
 6
 7
 8                                      /s/ Nicole Petrillo
                      __________________________________________________
 9                            An Employee of Gregory & Waldo, LLC.
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